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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.: 19-CR-60276-AHS

  UNITED STATES OF AMERICA,
      Plaintiff.

  -vs-

  CHRISTOPHER MIANO,
       Defendant.
  ____________________________/

      DEFENDANT’S MOTION FOR DOWNWARD VARIANCE AND
   SENTENCING MEMORANDUM AND RESPONSE TO GOVERNMENT’S
             MOTION FOR DOWNWARD DEPARTURE

         The Defendant, Christopher Miano, by and through undersigned counsel,

  pursuant to Rule 32 of the Federal Rules of Criminal Procedure, 18 U.S.C. Section

  3553(a) and the Due Process Clause of the Fifth Amendment to the United States

  Constitution, respectfully files this, his Motion for Downward Variance and

  Sentencing Memorandum, as well as his response to the Government’s Motion for

  Downward Departure based on U.S.S.G. § 5K1.1. The Defendant moves this Court

  for the imposition of a non-incarcerative sentence, which the unique facts pertinent

  to this Defendant render a reasonable sentence that is not greater than necessary to

  meet all of the sentencing concerns expressed by Congress in 18 U.S.C. §3553(a),

  and appropriately accounts for the extraordinary nature of his years-long cooperation

  with the Government in the investigation and prosecution of several health care fraud

  Defendants.



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        For the last five years, Chris Miano has likely been one of the most prolific

  cooperators that this Court has encountered. Miano’s cooperation began well before

  he signed a plea agreement (it was even contemplated before the Government

  executed a search warrant at his office) and includes all three types of cooperation:

  historical (proffers and the production and organization of thousands of documents),

  proactive (making recorded calls and secretly videoed in-person meetings with

  targets), and testimonial (hearing and trial testimony, and their associated

  preparation sessions, in and out of the Southern District of Florida). Miano has met

  with federal prosecutors, either in-person or via videoconference, approximately 49

  times and provided information concerning 30+ targets of healthcare fraud

  investigations. Miano has conducted consensually recorded calls or text messages

  with targets of healthcare fraud investigations approximately 136 times. On three

  separate occasions, Miano met in-person with targets of fraud investigations while

  wearing an audio and video recording device. Miano has provided tens of thousands

  of pages of documents/emails, including spending countless hours organizing and

  summarizing his communications with “targets” for the Government. Miano has

  participated in over 100 phone calls or in-person meetings with federal agents over

  the last five years to assist in investigations. Miano has waived any potential

  attorney-client privilege, cooperated with Department of Justice filter teams and has

  been called as a witness by the Government in order to establish an exception (i.e.,




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  crime fraud) to the attorney client privilege asserted by a co-conspirator. Miano also

  voluntarily entered into an agreement to sell his family home and forfeit his share of

  the proceeds, as well as place funds into counsel’ Florida Bar Trust Account as early

  as 2019 to pay toward his forfeiture balance. Finally, Miano has testified in one trial,

  which resulted in a conviction, and has been listed as a witness in numerous other

  cases and is credited for providing evidence/potential testimony that led to guilty

  pleas.

           All the while, Miano completely pivoted from the offense conduct and started

  a new business from the ground-up, employing many people, roasting, packaging

  and selling multiple coffee products out of his company’s warehouse, factory and

  fulfillment center, in Fort Lauderdale. In the calendar year 2023 this business had

  over $2,500,000 in revenue, paid Mr. Austin’s widow over $125,000, income to Mr.

  Miano of more than $150,000 and hourly wages for employees more than $110,000.

  The impact this case has had on Mr. Miano, and his response, should satisfy this

  Court that he has been rehabilitated and poses absolutely no risk of recidivism.

                                    INTRODUCTION

           Given the mitigating factors set forth herein, Mr. Miano respectfully requests

  that this Court impose a non-incarcerative sentence. Such a sentence would be

  sufficient—but not greater than necessary—to satisfy the factors outlined in 18

  U.S.C. § 3553(a). See Kimbrough v. United States, 552 U.S. 85, 101 (2007). Mr.




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  Miano’s very early acceptance of responsibility and cooperation with the

  Government, his attempts to make the Government financially whole, including

  listing his family home for sale in order to pay his forfeiture judgment in full, the

  stress and impact that the last five years have had on Mr. Miano and his family and

  the negative impact this case will have on Miano for the remainder of his life, all

  provide ample justification for the Court to impose the below-guideline sentence

  which Counsel ardently requests..

        The era of mechanized application of the sentencing guidelines to formulate

  an appropriate sentence is over. The United States Supreme Court's decision in

  Pepper v. United States, 562 U.S. 476 (2011) makes this abundantly clear. The

  sentencing guideline range is not presumptively reasonable, is advisory only, and is

  but one, and certainly not the most important factor, that the court must consider in

  fashioning a reasonable sentence. Rita v. United States, 127 S. Ct. 2456 (2007); Gall

  v. United States, 128 s. Ct. 586 (2007). In United States v. Hunt, 459 F. 3d 1180

  (11thCir. 2006), the court held that there are "many instances" where the guideline

  range will not yield a reasonable sentence. Id. at 1184. The court held that district

  courts are obligated to impose a reasonable sentence regardless of the guideline

  range, so long as the guideline has been considered. Id. In the United States Supreme

  Court's most recent decision minimizing the impact of the guidelines on determining

  a reasonable sentence, the court stated:




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            "It has been uniformed and constant in the federal judicial
            tradition for the sentencing judge to consider every convicted
            person as an individual and every case as a unique study in the
            human failings that sometimes mitigate, sometimes magnify,
            the crime and the punishment to ensue." Koon v. United States,
            518 U.S. 81 (1996). Underlying this tradition is the principle
            that "the punishment should fit the offender and not merely the
            crime." Williams, 337 U.S. at 247, 69 S. Ct 1079.

  Pepper supra. 1239-40 [Emphasis added]. The court went to say:

            In particular, we have emphasized that '[h]ighly relevant if not
            essential-to [the] selection of an appropriate sentence is the
            possession of the fullest information possible concerning the
            defendant's life and characteristics." Id. at 247, 69 S. Ct. 10-79.
            Permitting sentencing courts to consider the widest possible
            punishment will suit not merely the offense but the individual
            defendant." Wasman v. United States, 468 U.S. 559 (1984).

        Id. at 1240. While courts should give "respectful consideration" to the

  advisory guidelines and their accompanying policy statements, the Court in Pepper

  stressed, and post-Booker decisions make clear, that a district court may in

  appropriate cases impose a non-guideline sentence based on a disagreement with the

  Sentencing Commission's views. Pepper, supra. at 1247. Except for unconstitutional

  considerations (e.g., race, sex, etc.) there is no limit to the type and nature of

  information a court may consider in imposing a reasonable sentence. U.S.S.G. §

  1B1.4; see also 18 U.S.C. § 3661 (“No limitation shall be placed on the information

  concerning the background, character, and conduct of a person convicted of an

  offense which a court of the United States may receive and consider for the purpose

  of imposing an appropriate sentence.”).



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  THE DEFENDANT’S HISTORY AND CHARACTERISTICS WARRANT A
                   SIGNIFICANT VARIANCE

        The Defendant’s personal history and characteristics are laid out in detail in

  the Presentence Investigation Report, and even more compellingly so in the seven

  character reference letters that accompany this memorandum. Here are a few quotes

  from these letters:

        Mr. Miano’s wife, Dana, states: “He is genuinely remorseful and has actively

  sought to rectify them over the past five years. Despite the challenges, he has

  consistently cooperated with authorities, demonstrating a commitment to

  accountability and rectitude.”

        From Nicole Austin, the widow of former Co-Defendant Dean Austin: “I had

  just been through my second onset of Cancer when I was recovering during the last

  part of the Covid lockdown in 2020 and up until Dean’s unexpected death just a few

  months later when I walked into the warehouse to meet with Chris. Greif stricken

  and overwhelmed, he welcomed me into the business no questions.”

        From Mr. Miano’s younger sister, Jennifer Hannon: “While I am unfamiliar

  with the specific details of his case, please know that I believe you are dealing with

  one of the good ones here…He has a positive impact on his family’s lives, including

  that of his 10-year-old son. Chris also owns and operates a coffee wholesaling

  business, the income from which supports his family.”



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        From his step-daughter Domenica Conte: “Christopher Miano has been a

  pivotal figure in my life for the past two decades, assuming the role of my stepfather.

  He has been the sole paternal influence in my upbringing, significantly contributing

  to the person I am today. Everything he does is dedicated to the wellbeing of our

  family.”

        From Jenna Norton, the 25-year-old-stepdaughter of Mr. Miano: “Christopher

  Miano has been a significant figure in my life for the past two decades. While my

  biological father was absent and lacked compassion, my stepfather filled that void

  with unwavering support and care.”

        From Mr. Miano’s mom, Nancy Wilson: “Chris lives with his wife, Dana, son

  Anthony, stepdaughter Dominica, and her eighteen-month-old baby. Chris takes care

  of all the bills, the outside grounds and inside cleaning of the house.”

        From Kenneth Wilson, Mr. Miano’s stepfather: “I can say these charges have

  taken a heavy toll on Chris and his family. He has done everything that has been

  asked of him after pleading guilty. Everyone at the company truly appreciates

  working for Chris as he is a great boss.”

        Miano attaches, as exhibits, family and business photos and will share a video

  of the DCAM coffee operation with this Court at the sentencing hearing.



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  Mr. Miano’s Low Risk of Recidivism

         In 2004, the Federal Sentencing Commission published a report which

  presented a statistical analysis of the characteristics associated with the likelihood of

  a person recidivating. The study showed that, amongst others, (1) older individuals

  were less likely to reoffend; (2) those who were employed were less likely to

  recidivate than those who were unemployed; (3) non-drug users were less likely to

  recidivate than drug users; (4) college graduates were significantly less likely to

  reoffend than those with lower levels of educational attainment; and (5) people who

  received non-incarcerative sentences were less likely to reoffend than those who

  received sentences involving incarceration. See “Measuring Recidivism: The

  Criminal History Computation of the Federal Sentencing Guidelines,” United States

  Sentencing Commission (May 2004) at 28-32.1 These factors strongly support a

  finding that Mr. Miano poses no risk of reoffending (while by Attorney William

  Tunkey’s standards Miano may not be considered “older,” he certainly has exhibited

  the maturity and insight into the impact his actions have had on his wife and young

  children to motivate him never to reoffend).

         The Eleventh Circuit discussed the interplay between a defendant’s risk of

  recidivism and sentencing outcomes in United States v. Clay, 483 F.3d 739 (11th



  1
   Available at: www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
  publications/2004/200405_Recidivism_Criminal_History.pdf



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  Cir. 2007). In Clay, the District Court sentenced the defendant to 60 months, even

  though his guidelines were 188-235 months, because of the District Court’s view

  that the defendant was not likely to re-offend. Id. at 742–43. In affirming the

  defendant’s sentence, the Eleventh Circuit stressed that a sentencing court is

  “require[d] . . . to consider characteristics of the defendant and the offense that make

  it more or less likely that the defendant will reoffend.” Id. at 745. Because the

  defendant in that case had “fundamentally changed since his offense” and “pose[d]

  a lesser risk to the community,” the Eleventh Circuit determined that the sentencing

  court was correct in granting a downward variance. Id. at 746. See also Gall v. United

  States, 552 U.S. 38, 57–59 (2007); United States v. Cherry, 487 F.3d 366, 369–70

  (6th Cir. 2007) (granting significant downward variance from the guideline range

  where the defendant presented a low risk to reoffend); Prosperi, 686 F.3d at 48

  (affirming non-incarcerative sentence where there was no risk of recidivism). There

  should be no doubt that Miano has fundamentally changed since his offense.

        As further proof of the near nonexistent risk of Mr. Miano reoffending, he has

  been under the supervision of the Government since the summer of 2019 (when his

  cooperation began). He has religiously observed the conditions of his release

  pending disposition of this matter and reported to his pretrial services officer without

  fail. See United States v. Munoz-Nava 524 F.3d 1137 (10th Cir. 2008) (holding

  district court’s sentence of one year and one day in prison plus one year of home




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   detention reasonable in drug case where guidelines were 47–56 months, partly

   because the defendant’s “behavior while on a year-and-a-half pretrial release, which

   the district court found to be exemplary,” showed the defendant was unlikely to

   reoffend).

         Another factor which should assure this Court that Miano will not reoffend is

   that he has spent the last four years building a new business, DCAM Coffee, d/b/a/

   Barista Joe’s (https://dcamcoffee.com/). Miano started this business with his partner

   and co-defendant, Dean Austin, almost immediately after their cooperation began.

   This Court will hear how this business, and its staff, is completely dependent on Mr.

   Miano in order to operate.



   The Defendant provided immediate and substantial cooperation

           One of the goals of sentencing is rehabilitation. See Williams v. New York,

    337 U.S. 241, 248 (1949). A defendant's admission of responsibility or expression

    of contrition “is often a significant first step towards his rehabilitation and, for that

    reason, deserving of a possible reward in the form of a lessened sentence.” Smith

    v. Wainwright, 664 F.2d 1194, 1196 (11th Cir. 1981).

           While the Court will certainly address the Defendant’s cooperation based

    on the Government’s § 5K1.1 Motion for Downward Variance, this Court may

    also consider the Defendant’s extensive cooperation under a § 3553(a) analysis as




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    evidence of the personal characteristics of the Defendant; his extraordinary

    acceptance of responsibility; that he has been rehabilitated, and, that he’s unlikely

    to reoffend. See, See      Roberts v. United States, 445 U.S. 552, 558 (1980)

    (defendant’s cooperation demonstrates that the “defendant will transgress no more

    [and will] respond to rehabilitative efforts [and] not deem himself at war with his

    society.”); U.S. v. Knox 573 F.3d 441 (7th Cir. 2009) (“we agree with Davis that,

    as a general matter, a district court may consider a defendant’s cooperation with

    the government as a basis for a reduced sentence, even if the government has not

    made a § 5K1.1 motion.”); U.S. v. Zolp, 479 F.3d 715 (9th Cir. 2007) (the Court

    may consider good faith efforts at cooperation under U.S.C. § 3553(a)); United

    States v. Fernandez, 443 F.3d 19, 33 (2d Cir. 2006) (district court should consider

    “the contention that a defendant made efforts to cooperate, even if those efforts

    did not yield a Government motion for a downward departure pursuant to U.S.S.G.

    § 5K1.1”); United States v. Doe, 398 F.3d 1254, 1260-61 (10th Cir. 2005)

    (concluding that “a defendant’s assistance should be fully considered by a district

    court at sentencing even if that assistance is not presented to the court in the form

    of a § 5K1.1 motion”).

          Mr. Miano’s cooperation          has    been   extensive, exceptional, and

    extraordinary. At no point has the government ever expressed any doubt of the

    veracity of the information Miano provided. The twelve unopposed requests to




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    postpone his sentencing date attest to this. On top of participating in 49 meetings

    with federal prosecutors, Miano was a go-to resource for federal agents, helping

    them to understand how the genetic testing fraud scheme operated, as his

    cooperation began before one of the first major law enforcement actions

    concerning genetic testing fraud. He provided an extensive, organized email

    database and documents which tracked the fraudulent financial fall-out from the

    purchase of signed doctor’s orders for genetic tests. A selective summary of what

    Miano’s cooperation helped the Government accomplish will be provided prior to

    the July 23rd sentencing hearing.



   Deterrence Does Not Require Lengthy Incarceration

         An argument underlying most of the Government’s recommendations for

   incarceration for Defendants such as Miano is the need for general deterrence. Yet,

   the theory of “general deterrence” as a justification for imprisonment is premised on

   the idea that prospective offenders will rationally consider potential consequences

   before committing a crime. However:

                [T]he high variability across types of offenders and
                offences, and lack of satisfactory evidence demonstrating
                offender rationality in practice, makes it impossible to
                assume all or most offenders rationally consider
                commission of a crime before committing it. The strongest
                argument against deterrence theory is the overwhelming
                body of evidence suggesting that humans do not make
                conscious, rational decisions at all times. An overview of


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                 the myriad of theories and research surrounding irrational
                 criminal decision-making shows that punishment as a
                 general deterrent is ineffective.

   See, Athula Pathinayake, Should We Deter Against General Deterrence?, Wake

   Forest J.L. & Pol’y 63, 88–89 (2018).

          Rather, the Court should consider that Mr. Miano does not need to be

   incarcerated to be deterred from committing any future crime. A term of

   incarceration “may work to promote not respect, but derision, of the law if the law

   is viewed as merely a means to dispense harsh punishment without taking into

   account the real conduct and circumstances involved in sentencing.” Gall 552 U.S.

   at 54. The United States Sentencing Commission has recognized that alternatives to

   incarceration “divert offenders from the criminogenic effects of imprisonment which

   include contact with more serious offenders, disruption of legal employment, and

   weakening of family ties.” See “Sentencing Options Under the Guidelines,” United

   States Sentencing Commission (1996).2

          Mr. Miano respectfully asks this Court to consider that a below-guidelines

   sentence would afford him the best opportunity to make amends for his actions. See

   United States v. Adelson, 441 F. Supp. 2d 506, 514 (S.D.N.Y. 2006), aff’d 301 Fed.

   Appx 93 (2d Cir. 2008) (“there is considerable evidence that even relatively short



   2
    Available at: https://www.ussc.gov/sites/default/files/pdf/research-and-publications/working-
   group-reports/simplification/SENTOPT.pdf



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   sentences can have a strong deterrent effect on prospective ‘white collar’

   offenders.”).



   A Downward Variance Will Not Create an Unwarranted Sentencing Disparity

          Under 18 U.S.C. §3553(a)(6), courts must consider “the need to avoid

   unwarranted sentence disparities among defendants with similar records who have

   been found guilty of similar conduct.” Data collected from fraud cases across the

   country and within the Southern District of Florida demonstrates a downward

   variance in this case would not lead to unwarranted sentence disparities.

          In 2023, the United States Sentencing Commission compiled sentencing data

   for 64,124 cases from every federal jurisdiction. See “Quarterly Data Report, Fiscal

   Year 2023” United States Sentencing Commission (March 25, 2024).3 In 27,483

   (42.85%) of those cases, defendants received a downward departure or variance

   from the advisory guidelines range. Id. Of the 757 defendants convicted of fraud

   related offenses that received downward departures based on §5K1.1 motions, the

   average decrease was 68.9% below the bottom of the advisory guideline range. Id.

   at 24. For the 2,081 fraud defendants who received a downward variance, the

   average variance was 58.7%. Of the 5,205 defendants sentenced for fraud related



   3
    Available at: https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-
   sentencing-statistics/quarterly-sentencing-updates/USSC-2023_Quarterly_Report_Final.pdf



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   offenses, 25.1% received probation sentences. Id. at 10.

         An examination of departures/variances granted for defendants convicted of

   fraud-related offenses in the Southern District of Florida further evidences a

   downward variance from the advisory guideline range would not only be reasonable,

   it would be in line with general sentencing practices in this District. The Sentencing

   Commission’s “Interactive Data Analyzer” revealed that in 2023, there were 238

   reported cases involving fraud in this District where defendants had a criminal

   history category of I. In only 36.6% (87) cases was the Defendant sentenced within

   the advisory guideline range, while in 39.1% (93) of the cases, the Defendant

   received a downward variance from the Court (unrelated to a motion by the

   Government). The average sentence in this District for Defendants sentenced under

   §2B4.1 was 19 months.

         In addition to the sentencing statistics, this Court will also hear how a non-

   incarcerative sentence will not create an unwarranted disparity between Miano and

   defendants in related cases. Notably, paragraph 26 of the PSR identifies Harry Molz

   and Dean Baker (19-cr-60275-Moreno) as related defendants. Similar to Miano, they

   pled to one count of conspiracy to solicit and receive health care kickbacks. On June

   29, 2020, Molz was sentenced to 14 months (sentencing guidelines were 37-46),

   which was reduced a year later pursuant to the Government’s motion, to 8 months.

   On June 26, 2020, Baker was sentenced to 30 months (sentencing guidelines were




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   46-57), which was reduced a year later pursuant to the Government’s motion, to time

   served (the Defendant was in custody for approximately 22 months serving a

   concurrent sentence due to a supervised release violation in a previous case).

   Miano’s cooperation far exceeds that of Baker and Molz, in time, quantity and

   quality. This Court will also hear about the resolution of other, related cases, outside

   of this district that will assure this Court that there is no concern for sentencing

   disparity.

                                      CONCLUSION

         Christopher Miano has shown this Court, over the last 5+ years, that he is a

   changed man. He has done everything in his power to right the wrongs of his actions,

   and his cooperation with the Government far exceeds “substantial.” He has built a

   business that depends on him, and he is surrounded by a family that supports him.

   The 18 U.S.C. §3553(a) factors, as well as the Government’s U.S.S.G. § 5K1.1

   motion, warrant a sentence of time served followed by a term of three years

   supervised release or, alternatively, a six month term of home confinement followed

   by a three year term of probation.



                                    Respectfully Submitted,

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